'I`HESE lNTERROGA'¥`DRJES ARE PROPOUNDED EN ACCGRI)ANCE “’ITH FED. R. CIV. P. 33. YOU
M{JST ANSWER EA.CH QUES’{`ION SEPARATELY AND FULLY IN WRITING AND UNDER OA.TH.
YOU MUS'!` RETURN 'E`HE. ORIGINAL AND ON¥Z CGPY OF YOUR ANSWERS WITHIN THIRTY (3{])
DAYS OF THE DATE YOU RECE!VED 'I`HEM TO THE PA.RTY OR COUNSEL WHO SERVED THEM
UPON YOU. EF YOU OB§ECT TO ANY QUEST!ON§ YOU MUST NO'I`E YOUR €}EIECTION AND
STATE`THE REASON THEREFOR. IF YOU FAIL TO RETI.§RN YOUR ANSWERS WIHTIN THIRTY
(30) DAYS, THE PARTY WHO SERVED 'I`HEM UP{)N YOU MAY INFORM 'I`HE COURT, ANB THE
COURT SHALL MAKE SUCH ORDERS AS JUSTICE REQUIRES, INCLUDING 'I'HE ENTRY OF A
CGND!TIONAL DEFAULT AGAINST YOU.

UNITED S'I`ATES DISTRICT COURT
FOR THE DIS'I`RICT OF NEW HAMPSHIRE

 

Kaitlin Hudson,
Plaintiff,
V. Civii Action NO. ll-CV-UOZ?B-JD

Dr. Michael J. O’Connell’s Pain Care
Center, Inc. and Dr. Michacl J. O’Connell,

De fend ants .

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I)EFENDANTS’ FIRST sn'r oF INTERROGATORIES mcmanan won
gl__.AlNTIFF. KMT;,IN HUQSON

NOW COMES Det`endams, Dr. Michae] J. O’Connell’s Pain Care Center, Inc. and Dr.
Michacl J. U’Connei¥, by and through counsei, Shahcen & Gordon, P.A., and, pursuant to Rule
33 of the Federa§ Ruies of Civi! Procedure, hereby propounds interrogatories to Plaintiff, Kaitlin
Hadson, 10 be answered under oath and returned to Shaheen & Gordon, P.A,, 107 Storrs Street,
P.O. Box 2703, Concord, NH 03302, within thirty (30) days.

INSTRUCTIONS AND DEFINIT!ONS
l. "PERSON" means and includes a natural person, partnership, firm, or

corporation or any other kind of business or legal cntity, including any governmental entity, its
agents or employees

 

11. Please identify all violations, misdemeanors and felonies for which you have been
charged or convicted

ANSWER:

Objection. 'l`his interrogatory is beyond the scope of discovery, overly broad, and unlikely to
lead to the discovery of admissible evidence Without Waiving this objection l have been
convicted in New Hampshire ofTheft by Unauthorized Taking (felony), two counts of Receiving
Stolen Property (misdemeanor), two counts of The& by Deception (misdemeanor), Shopli;&ing
(misderneanor), and Robbery (felony).

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